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                            UNITED STATES DISTRICT COURT
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                         SOUTHERN DISTRICT OF WEST VIRGINIA
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STANDING ORDER
IN RE: ASSIGNMENT AND REFERRAL OF
CIVIL ACTIONS AND MATTERS TO MAGISTRATE JUDGES


DISCOVERY

       Pursuant to Title 28, United States Code, Section 636, it is hereby ORDERED that all

discovery disputes in civil cases, including those which arise post-judgment (e.g., interrogatories

in aid of execution, judgment debtor examinations, motions to compel answers to suggestions),

shall be referred as follows:

       For the Beckley and Bluefield Divisions, to the Honorable Omar J. Aboulhosn, United
       States Magistrate Judge;

       For the Huntington Division, to the Honorable Joseph K. Reeder, United States Magistrate
       Judge;

       For the Charleston Division, to the Honorable Dwane L. Tinsley, United States Magistrate
       Judge.


CIVIL MATTERS (JURY OR NON-JURY) ASSIGNED FOR ALL PROCEEDINGS UPON
CONSENT

       Actions in which all parties have consented to proceed before a magistrate judge upon the

execution of a written Consent in accordance with 28 U.S.C. 636(c) and Fed. R. Civ. P. 7 are

assigned as follows:

       For the Beckley and Bluefield Divisions, to the Honorable Omar J. Aboulhosn, United
       States Magistrate Judge;

       For the Huntington Division, to the Honorable Joseph K. Reeder, United States Magistrate
       Judge;

       For the Charleston Division, to the Honorable Dwane L. Tinsley, United States Magistrate
       Judge.
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SOCIAL SECURITY CASES

        All actions for judicial review of an administrative determination under the Social

Security Act are referred for total pretrial management and submission of proposed findings of

fact and recommendations for disposition to the magistrate judges of the Southern District of

West Virginia on an equal rotational basis as the actions are filed without regard to the divisional

office in which they are filed.

        Applications for award of attorneys’ fees and expenses under the Social Security Act or

the Equal Access to Justice Act shall be acted upon by the Magistrate Judge who received the

initial case referral.


HABEAS PROCEEDINGS

        All actions filed by persons who are proceeding pro se or with counsel pursuant to

28 U.S.C. §§ 2241, 2254, or 2255, whether incarcerated or not, are referred for total pretrial

management and submission of proposed findings of fact and recommendations for disposition

to the magistrate judges of the Southern District of West Virginia on an equal rotational basis as

the actions are filed without regard to the divisional office in which they are filed.


ALL OTHER CIVIL ACTIONS FILED BY PERSONS PROCEEDING PRO SE

        All other civil actions filed by persons proceeding pro se, and that are not covered above,

are referred for total pretrial management and submission of proposed findings of fact and

recommendations for disposition as follows:

        For the Beckley and Bluefield Divisions, to the Honorable Omar J. Aboulhosn, United
        States Magistrate Judge;

        For the Huntington Division, to the Honorable Joseph K. Reeder, United States Magistrate
        Judge;

        For the Charleston Division, to the Honorable Dwane L. Tinsley, United States Magistrate
        Judge.
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ALL OTHER CIVIL ACTIONS IN WHICH DEFENDANTS PROCEED PRO SE

       For all other civil cases in which a defendant or defendants make a pro se appearance

following referral of discovery disputes to a magistrate judge, the presiding judicial officer will

determine if the case will be referred to the magistrate judge for pretrial management and

submission of proposed findings of fact and recommendations for disposition, in total or in part,

as follows:

       For the Beckley and Bluefield Divisions, to the Honorable Omar J. Aboulhosn, United
       States Magistrate Judge;

       For the Huntington Division, to the Honorable Joseph K. Reeder, United States Magistrate
       Judge;

       For the Charleston Division, to the Honorable Dwane L. Tinsley, United States Magistrate
       Judge.


       This Standing Order is effective for all cases filed September 1, 2024, and thereafter until

further order of this Court. The Clerk is directed to enter this Standing Order and post the same

to the Court’s website.


ENTERED this 1st day of September, 2024




                                                   ROBERT C. CHAMBERS
                                                3 UNITED STATES DISTRICT JUDGE
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                                    David A. Faber
                                    Senior United States District Judge




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